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     Otto Trucking LLC
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17                               UNITED STATES DISTRICT COURT

18                             NORTHERN DISTRICT OF CALIFORNIA

19                                     SAN FRANCISCO DIVISION

20   Waymo LLC,                                    Case No. 3:17-cv-00939-WHA
                                                   DECLARATION OF SHANE BRUN IN
21                Plaintiff,                       SUPPORT OF DEFENDANTS’ REPLY IN
                                                   SUPPORT OF MOTION FOR SUMMARY
22          v.                                     JUDGMENT
23   Uber Technologies, Inc.; Ottomotto LLC; Otto  Date:          September 20, 2017
     Trucking LLC,                                 Time:          8:00 a.m.
24                                                 Courtroom: 8 (19th Floor)
                  Defendants.                      Judge:         Hon. William Alsup
25                                                 Filed/Lodged Concurrently with:
                                                        1. Defendants’ Reply in Support of Motion
26                                                         for Summary Judgment
27                                                Trial:          October 10, 2017

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     ACTIVE/92616012.1
     DECLARATION OF SHANE BRUN ISO REPLY ISO                      CASE NO. 3:17-CV-00939-WHA
     DEFENDANTS’ MSJ
     Case 3:17-cv-00939-WHA Document 1637-1 Filed 09/18/17 Page 2 of 3



 1           I, SHANE BRUN, declare:

 2           1.          I am a partner with the law firm Goodwin Procter LLP. I am a member in good

 3   standing of the Bar of the State of California and the Bar of this Court. I make this declaration

 4   based on personal knowledge and, if called as a witness, I could and would testify competently to

 5   the matters set forth herein. I make this declaration in support of Defendants’ Reply in Support of

 6   Defendants’ Motion for Summary Judgment.

 7           2.          Attached hereto as Exhibit 1 is a true and correct copy of excerpts of the Deposition

 8   of Adam Bentley in his capacity as the 30(b)(6) witness for Otto Trucking, dated August 22, 2017.

 9           3.          Attached hereto as Exhibit 2 is a true and correct copy of excerpts of the Deposition

10   of Lior Ron, dated June 19, 2017.

11           4.          Attached hereto as Exhibit 3 is a true and correct copy of Exhibit D to the

12   Framework Agreement bearing Bates numbers OTTOTRUCKING00002925-2926.

13           I declare under penalty of perjury under the laws of the United States that the foregoing is

14   true and correct. Executed this 18th day of September, 2017 in San Francisco, California.

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16                                                             /s/ Shane Brun
                                                               SHANE BRUN
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     ACTIVE/92616012.1                                    1
     DECLARATION OF SHANE BRUN ISO REPLY ISO                                 CASE NO. 3:17-CV-00939-WHA
     DEFENDANTS’ MSJ
     Case 3:17-cv-00939-WHA Document 1637-1 Filed 09/18/17 Page 3 of 3



 1                               ATTESTATION OF E-FILED SIGNATURE

 2          I, Michael A. Jacobs, am the ECF User whose ID and password are being used to file

 3   Declaration of Shane Brun in Support of Defendants’ Reply in Support of Motion for Summary

 4   Judgment. In compliance with General Order 45, X.B., I hereby attest that Shane Brun has

 5   concurred in this filing.

 6   Dated: September 18, 2017                             /s/ Michael A. Jacobs
                                                             MICHAEL A. JACOBS
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